Case 1:08-cr-00086-ELH   Document 1327   Filed 01/29/13   Page 1 of 6
Case 1:08-cr-00086-ELH   Document 1327   Filed 01/29/13   Page 2 of 6
Case 1:08-cr-00086-ELH   Document 1327   Filed 01/29/13   Page 3 of 6
Case 1:08-cr-00086-ELH   Document 1327   Filed 01/29/13   Page 4 of 6
Case 1:08-cr-00086-ELH   Document 1327   Filed 01/29/13   Page 5 of 6
Case 1:08-cr-00086-ELH   Document 1327   Filed 01/29/13   Page 6 of 6
